24-70009-smr Doc#139-1 Filed 05/29/24 Entered 05/29/24 17:09:20 Exhibit Bank summary
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Oil Daddy                             Apr-24

                           Starting            Disburesements    Deposits
Horizon Payroll 5097
                           $           9.57
Debit payroll                                  $      4,800.00
Deposit                                                          $          5,000.00
Ending balance                                                   $            209.57

Horizon Operating
Starting                   $    48,179.06
Debits                                         $     10,928.80

Withdrawals automatic                          $     30,221.06
Card activity                                  $      8,059.23
Total                                          $     49,209.09
Deposits                                                         $          3,247.25
Ending Balance                                                   $          2,217.22

Chase                      $          (7.32)

Deposits- personal funds                                         $          1,100.00

Chase -personal expense                        $      1,000.00
                                                                 $            77.68
Ending balance

Starting                   $    48,181.31
Disbursements              $    55,009.09
Deposits                   $     9,347.25
Ending Balance             $     2,519.47
